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                                                                                        FILED
                                                                                        OCT 2 7 2021
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA                                     CLERK
                                                                                        U.S. DISTRICT COURT
                                                                                        MIDDLE DIST. OF ALA.
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA
                                                   CR.NO.et PU‘te
               v.                                     [18 U.S.C. § 371;
                                                        7 U.S.C. § 2156(a)(1);
 WILLIAM COLON EASTERLING                               7 U.S.C. § 2156(b);
     a/k/a "Big Jim,"                                   7 U.S.C. § 2156(c);
 BRENT COLON EASTERLING,                                7 U.S.C. § 2156(e);
 KASSI BROOK EASTERLING,                               18 U.S.C. § 1955(a);
 WILLIAM TYLER EASTERLING                              18 U.S.C. § 1955(d);
     a/k/a "Tyler,"                                    16 U.S.C. § 703;
 GEORGE WILLIAM EASTERLING                             16 U.S.C. § 706;
     a/k/a/ "Billy,"                                   16 U.S.C. § 707;
 THOMAS GLYN WILLIAMS                                  21 U.S.C. § 853(p);
     a/k/a "Junior" or "Jr.," and                      28 U.S.C. § 2461(c);
 AMBER NICOLE EASTERLING                               18 U.S.C. § 981;
                                                       18 U.S.C. § 49(a); and
                                                       18 U.S.C. § 2]

                                                   INDICTMENT



 The Grand Jury charges:

                                       I. INTRODUCTION

A.     The Defendants

       At all times material to this Indictment:

       1.      Defendant WILLIAM COLON EASTERLING alk/a "Big Jim"(hereinafter,

"W.C. EASTERLING")was a resident of Verbena, Alabama, who bred fighting birds at his

residence and operated a cockfighting pit.

       2.      Defendant BRENT COLON EASTERLING (hereinafter,"BRENT

EASTERLING")was a resident of Verbena, Alabama, who operated a fighting-bird breeding

business at his residence known as L&L GAMEFARM.He also helped his father, W.C.
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EASTERLING,run a cockfighting pit. At all times material to this indictment, BRENT

EASTERLING was married to KASSI BROOK EASTERLING (hereinafter "KASSI

EASTERLING").

       3.    Defendant KASSI EASTERLING was a resident of Verbena, Alabama, who

helped her husband, BRENT EASTERLING, operate a fighting-bird breeding business at their

residence known as L&L GAMEFARM.

       4.    Defendant WILLIAM TYLER EASTERLING a/k/a "Tyler"(hereinafter

"TYLER EASTERLING")was a resident of Verbena, Alabama, who operated a fighting-bird

breeding business at his residence, known as SWIFT CREEK GAMEFARM with his father,

GEORGE WILLIAM EASTERLING, and his brother-in-law, THOMAS GLYN WILLIAMS.

TYLER EASTERLING also helped his grandfather, W.C. EASTERLING,run a cockfighting

pit.

       5.    Defendant GEORGE WILLIAM EASTERLING a/k/a "Billy"(hereinafter

"BILLY EASTERLING")was a resident of Verbena, Alabama, who operated a fighting-bird

breeding business at his residence known as SWIFT CREEK GAMEFARM with his son,

TYLER EASTERLING, and his son-in-law, THOMAS GLYN WILLIAMS. BILLY

EASTERLING also helped his father, W.C. EASTERLING,operate a cockfighting pit.

       6.    Defendant THOMAS GLYN WILLIAMS a/k/a "Junioe or "Jr."(hereinafter

"JUNIOR WILLIAMS")was a resident of Verbena, Alabama, who helped run a fighting-bird

breeding business adjacent to his residence known as SWIFT CREEK GAMEFARM with his

father-in-law, BILLY EASTERLING,and his brother-in-law, TYLER EASTERLING. At all

times material to this indictment, JUNIOR WILLIAMS was married to T.E. JUNIOR

WILLIAMS also helped his wife's grandfather, W.C. EASTERLING,run a cockfighting pit.



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        7.     Defendant AMBER NICOLE EASTERLING (hereinafter"AMBER

EASTERLING")was a resident of Verbena, Alabama. AMBER EASTERLING helped her

grandfather, W.C. EASTERLING,run a cockfighting pit.

       8.      Neither SWIFT CREEK GAMEFARM nor L&L GAMEFARM are corporations

or businesses registered with the Alabama Secretary of State.

B.     Relevant Properties and Animals

               i.      Easterling Family Cockfighting Pit a/k/a/"Poor Man's Club"

       9.      At all times material to this indictment, the area used to host cockfighting events,

including an arena with stadium-style seating, parking, and various outbuildings was located in

Verbena, Alabama, in the areas identified by Chilton County Tax Assessor parcel ID numbers

142101020000005.000 ("Parcel 5"), 142101020000006.000 ("Parcel 6"), 142101020000006.001

("Parcel 6.001"), and 142101020000007.000("Parcel 7"). During the period relevant to this

indictment, Parcel 5, Parcel 6, Parcel 6.001 and Parcel 7 were owned by B.E., who is the wife of

W.C. EASTERLING,the mother ofBRENT EASTERLING and BILLY EASTERLING, and

the grandmother of TYLER EASTERLING,AMBER EASTERLING, and T.E. This area will be

referred to herein as the "Easterling Family Pit." The Easterlings and others also referred to the

Easterling Family Pit as the "Poor Man's Club."

               ii.     L&L Gamefarm and Fighting Bird Operation

       10.     At all times material to this indictment, L&L GAMEFARM was located at 4227

County Road 528 in Verbena, Alabama, identified by Chilton County Tax Assessor parcel ID

numbers 142101020000008.000("Parcel 8"), 142101020000009.000("Parcel 9"),

142101020000009.001 (parcel 9.001"). During the period relevant to this indictment, Parcel 8

was owned by BRENT EASTERLING and Parcels 9 and 9.001 were owned by B.E. L&L



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GAMEFARM operates on all ofthese parcels, which consist of agricultural land, outbuildings,

and other structures used to house roosters, hens, pullets, and chicks. BRENT EASTERLING

resides with KASSI EASTERLING on Parcel 9.

                 iii.   Swift Creek Gamefarm and Fighting Bird Operation

        11.      At all times material to this indictment, SWIFT CREEK GAMEFARM was

located at and around (1)4046 County Road 528 in Verbena, Alabama, identified by Chilton

County Tax Assessor parcel ID numbers 142101020000012.000("Parcel 12") and

142101020000007.001 ("Parcel 7.001"),(2)the most western portion ofthe property located at

4295 County Road 528 in Verbena, Alabama, identified by Chilton County Tax Assessor parcel

ID numbers 1142101020000005.000 ("Parcel 5"), 42101020000006.000("Parcel 6"), and

142101020000006.001 ("Parcel 6.001"), and (3)the northwestern portion of Parcel 8. During

the period relevant to this indictment, Parcel 12 was owned by TYLER EASTERLING,Parcel

7.001 was owned by BILLY EASTERLING,Parcels 5, 6, 6.001 and 7 were owned by B.E., and

Parcel 8 was owned by BRENT EASTERLING. SWIFT CREEK GAMEFARM operates on all

ofthese parcels, which consist of agricultural land, residential structures, outbuildings, and other

structures used to house roosters, hens, pullets, and chicks. TYLER EASTERLING,JUNIOR

WILLIAMS,and his wife, reside on Parcel 12; BILLY EASTERLING resides on Parcel 7.001

with his wife.

                 iv.    Residence of W.C.EASTERLING and Fighting Bird Operation

       12.       At all times material to this indictment, the residence of W.C. EASTERLING was

located at 4295 County Road 528 in Verbena, Alabama and identified by Chilton County Tax

Assessor parcel ID number 142101020000014.001 ("Parcel 14.001"). During the period

relevant to this indictment, Parcel 14.001 was owned by B.E. W.C. EASTERLING and B.E.



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reside together on this property. This parcel consists of agricultural land, a residential structure,

outbuildings, and other structures used to house roosters, hens, pullets, and chicks.

               ii.     Animal Fighting Venture Prohibition Under the Animal Welfare Act

        13.    The Animal Welfare Act defined "animal fighting venture" as "any event, in or

affecting interstate or foreign commerce,that involves a fight conducted or to be conducted

between at least 2 animals for purposes of sport, wagering, or entertainment." 7 U.S.C. §

2156(f)(1)(codified as 7 U.S.C. § 2156(g)(1) prior to December 20, 2019).

        14.    The definition of"animal" in the animal fighting venture prohibition ofthe

Animal Welfare Act included "any live bird." 7 U.S.C. § 2156(f)(4)(codified as 7 U.S.C. §

2156(g)(4) prior to December 20, 2019). Thus, an "animal fighting venture" included an event

involving the fighting of at least two birds for purposes,of sport, wagering, or entertainment if

that event was in or affecting interstate or foreign commerce.

        15.    Pursuant to the Animal Welfare Act, it was illegal for any person to:

               a.      "knowingly sponsor or exhibit an animal in an animal fighting venture," 7

       U.S.C. § 2156(a)(1);

               b.      "knowingly attend an animal fighting venture" or to "knowingly cause an

       individual who has not attained the age of 16 to attend an animal fighting venture," 7

       U.S.C. § 2156(a)(2);

               c.      "knowingly sell, buy, possess, train, transport, deliver, or receive any

       animal for purposes of having the animal participate in an animal fighting venture," 7

       U.S.C. § 2156(b);

               d.      "knowingly use the mail service of the United States Postal Service or any

       instrumentality of interstate commerce for commercial speech for purposes of advertising



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        an animal, or an instrument described in subsection (d), for use in an animal fighting

        venture, promoting or in any other manner furthering an animal fighting venture except

        as performed outside the limits ofthe United States," 7 U.S.C. § 2156(c); or

               e.      "knowingly sell, buy, transport, or deliver in interstate or foreign

       commerce a knife, a gaff, or any other sharp instrument attached, or designed or intended

       to be attached, to the leg ofa bird for use in an animal fighting venture." 7 U.S.C. §

       2156(d)(codified as 7 U.S.C. § 2156(e) prior to December 20, 2019).

               iii.    Prohibition Against Illegal Gambling Businesses

       16.     Pursuant to Title 18, United States Code, Section 1955(a), it was illegal for a

person to conduct, finance, manage, supervise, direct, or own all or part of an illegal gambling

business.

        17.    Title 18, United States Code, Section 1955(b)(4) defined "gambling" as including

but not limited to pool-selling, bookmaking, maintaining slot machines, roulette wheels or dice

tables, and conducting lotteries, policy, bolita or numbers games, or selling chances therein. In

addition, Title 18, United States Code, Section 1955(b)(1) defined "illegal gambling business" as

a gambling business which:(b)(1)(i) is a violation ofthe law of a State or political subdivision in

which it is conducted,(ii) involves five or more persons who conduct,finance, manage,

supervise, direct, or own all or part of such business, and (iii) has been or remains in

substantially continuous operation for a period in excess of thirty days or has a gross revenue of

$2,000 in any single day.

       18.     Alabama state law made it a crime for a person to engage in "simple gambline in

which a person knowingly advances or profits from unlawful gambling activity as a player.

Ala.Code 1975 § 13A-12-21(a). Alabama state law also made it a crime for a person to engage in



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"promoting gambline if a person knowingly advances or profits from unlawful gambling

activity otherwise than as a player. Ala.Code 1975 § 13A-12-22(a). Alabama state law specified

that a person engages in "gambline if they stake or risk something of value upon the outcome of

a contest of chance or a future contingent event not under their control or influence, upon an

agreement or understanding that they or someone else will receive something of value in the

event of a certain outcome. Ala.Code 1975 § 13A-12-20(4).

                iv.     Migratory Bird Treaty Act

        19.    Pursuant to Title 16, United States Code, Section 703 ofthe Migratory Bird

Treaty Act, it was "unlawful at any time, by any means or in any manner,to pursue, hunt, take,

capture, kill, attempt to take, capture, or kill, possess [...] any migratory bird, any part, nest, or

egg of any such bird,[...] included in the terms of the conventions between the United States and

Great Britain for the protection of migratory birds concluded August 16, 1916(39 Stat. 1702),

the United States and the United Mexican States for the protection of migratory birds and game

mammals concluded February 7, 1936, the United States and the Government of Japan for the

protection of migratory birds and birds in danger of extinction, and their environment concluded

March 4, 1972, and the convention between the United States and the Union of Soviet Socialist

Republics for the conservation of migratory birds and their environments concluded November

19, 1976."

       20.      The list of migratory birds protected by the Migratory Bird Treaty Act included

the Great Horned Owl, also known by its taxonomic name bubo virginianus. 50 C.F.R. §

10.13(c).




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                                         II. BACKGROUND

A.      Cockfighting

       21.     Cockfighting is a contest in which a person attaches a knife, gaff, or other sharp

instrument to the leg of a "gamecock" or rooster for the purpose offighting another rooster.

After a cockfighter straps a blade to a rooster, he or she intentionally faces the bird toward

another similarly-armed rooster and sets it down within a few inches ofthat rooster. This results

in a fight during which the roosters flap their wings and jump, while stabbing each other with the

weapons that are fastened to their legs. A cockfight ends when one rooster is dead or refuses to

continue to fight. It is not uncommon for one or both roosters to die after a fight.

       22.     A rooster has a natural bony spur on the back of its legs. This spur is used by the

rooster to cause injury to other animals when it kicks with its leg. The spur is the rooster's

natural means of defense. Cockfighters often trim the bird's natural spurs down so that they can

affix a sharp instrument to the rooster's legs to enhance the bird's fighting capability.

       23.     Cockfighters may also cut off other parts ofthe bird's body to make it less of a

target for an opponent during a cockfight. In particular, cockfighters may "dub" the rooster by

cutting off its wattles and comb.

       24.     "Handlers" prepare and handle birds during cockfights. They may be the actual

bird owner or someone paid to do the job.

       25.     Owners of cockfighting arenas, called "pits," hold organized fights where many

people can fight their trained birds against the fighting birds of other people. A referee officiates

during the cockfights. A series ofindividual cockfights is referred to as a "derby." A derby

usually consists of dozens ofindividual cockfights or matches and can last for several hours, or

days, depending on the number of entries. Cockfighting arenas, depending on the level of



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sophistication, may have multiple fighting pits. "Main fights" occur in the main pit, while "drag

pits" are used to finish fights from the main pit that have lasted so long that many ofthe

spectators have lost interest. Mortally injured roosters are sometimes placed off to the side where

people can then gamble on which animal will die first.

        26.     Owners of cockfighting pits make schedules that show the dates of the fights that

people can enter and spectate. Owners and "promoters" distribute these schedules by various

means to enhance participation and attendance at their organized fights. A "promoter" typically

makes arrangements for and oversees activities at the derby.

        27.     Owners charge participants a predetermined fee to enter a set number of roosters

into a derby—usually between three and twelve roosters per entry. This fee may be anywhere

from one hundred dollars to tens of thousands of dollars, depending on the event. The roosters'

weights are usually matched within a few ounces of each other for individual fights. The

cockfighter whose roosters have the best overall win/loss record in a derby wins the purse or

"pot," which is usually comprised ofthe derby participants' entry fees, less amounts retained by

the "house' or promoter(s). If multiple people tie with the best win/loss record then the pot is

split between them.

        28.     Owners of the pit enrich themselves by keeping a percentage of the pot, charging

participants for extra "options"(which may increase a participant's chance of winning more

money), charging spectators to park at the pit, charging a fee for spectators to get into the event,

selling food and drinks at the event, selling gaffs and other bird fighting supplies, and charging

fees for bird keeps at the pit location.




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       29.     A keep is a wooden hut with multiple compartments to house and segregate a

participant's fighting birds while they attend the event. This is sometimes referred to as a

cockhouse.

       30.     For purposes ofthis Indictment, the term "rooster" is synonymous with the terms

"gamecock,""cock,""bird," and "chicken." A mature gamecock resembles an ordinary rooster

except it may be surgically altered and is trained and conditioned for fighting. Gamecocks also

generally receive vitamins, drugs, and other supplements to boost their strength and endurance.

In addition, a "star is a young male chicken generally less than 2 years old, and a "puller is a

young female chicken generally less than one year old.

       31.     Persons engaged in cockfighting breed, buy, sell, and traffic in specialized breeds

of roosters bred specifically for cockfighting. These breeds are called by names such as "Bruner"

and "Jacobs," which refer to the "bloodline' of the bird. Particular breeds known for their

winning records in cockfighting matches are prized by users.

                                        III. THE CHARGES

                                          COUNT 1
                                 (18 U.S.C. § 371 — Conspiracy)

       32.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       33.     Beginning at a time unknown, but no later than January 2018 and continuing until

on or about June 11, 2021, in Chilton County, within the Middle District of Alabama, and

elsewhere, the defendants,

                                     W.C. EASTERLING,
                                    BRENT EASTERLING,
                                    KASSI EASTERLING,
                                    TYLER EASTERLING,
                                   BILLY EASTERLING, and


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                                      JUNIOR WILLIAMS,

as well as others, both known and unknown to the Grand Jury, did knowingly and intentionally

conspire, combine, and agree with themselves and others to commit offenses against the United

States, in violation of Title 18, United States Code, Section 371.

                              OBJECTS OF THE CONSPIRACY

       34.     It was an object ofthe conspiracy to violate the Animal Welfare Act's animal

fighting venture prohibition, Title 7, United States Code, Sections 2156(a),(b),(c), and (d).

       35.      It was an object ofthe conspiracy to operate an illegal gambling business in

violation of Title 18, United States Code, Section 1955.

                                    MANNER AND MEANS

       The defendants and their co-conspirators sought to accomplish the objects ofthe

conspiracy through the following methods and means, among others:

A.     Easterling Family Cockfighting Pit

       36.     Defendants W.C. EASTERLING,BRENT EASTERLING, and their co-

conspirators, known and unknown to the Grand Jury, erected and maintained the Easterling

Family Pit, outfitting the arena with stadium seating for approximately 150 people and several
  (
rings to host cockfights.

       37.     Defendants W.C. EASTERLING,BRENT EASTERLING,TYLER

EASTERLING,and their co-conspirators, known and unknown to the Grand Jury, planned and

promoted cockfighting derbies at the Easterling Family Pit through text messages, social media

platforms, hard-copy publication, fliers, and other interstate instrumentalities to promote animal

fighting events.




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       38.     Defendants W.C. EASTERLING,BRENT EASTERLING,TYLER

EASTERLING,and their co-conspirators, known and unknown to the Grand Jury, maintained

and promoted the rental of cockhouses in and around the Easterling Family Pit.

       39.     Defendants W.C. EASTERLING,BRENT EASTERLING, TYLER

EASTERLING,and their co-conspirators, known and unknown to the Grand Jury, fought birds

at the Easterling Family Pit.

       40.     Defendants KASSI EASTERLING,BILLY EASTERLING,and their co-

conspirators, known and unknown to the Grand Jury, sold, or promoted the sale of, sharp

cockfighting instruments at the Easterling Family Pit.

       41.     Defendant JUNIOR WILLIAMS and his co-conspirators, known and unknown to

the Grand Jury, provided security at the entrance gate and collected gate fees from people

coming to the cockfighting events at the Easterling Family Pit.

B.     Fighting Bird Breeding Operation

       42.     Defendants BRENT EASTERLING,KASSI EASTERLING,TYLER

EASTERLING,BILLY EASTERLING,and their co-conspirators, known and unknown to the

Grand Jury, ran fighting-bird breeding operations by deciding which birds to breed together and

which birds to cull for not showing promising fighting traits; by selling and shipping fighting

birds from their breeding operations to others; and by promoting the fighting abilities of birds

they bred.

       43.     Defendants BRENT EASTERLING,KASSI EASTERLING,TYLER

EASTERLING,BILLY EASTERLING,and their co-conspirators, known and unknown to the

Grand Jury, provided food and shelter for the breeding operation and hired employees to assist

with feeding and maintaining the birds.



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       44.    Defendants BRENT EASTERLING,KASSI EASTERLING,TYLER

EASTERLING,and their co-conspirators, known and unknown to the Grand Jury, also acquired,

promoted, and sold sharp cockfighting instruments and other cockfighting paraphernalia.

               OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

       45.    In furtherance ofthe conspiracy and to effect the objects ofthe conspiracy, the

following overt acts, among others, were committed in the Middle District of Alabama and

elsewhere:

       46.    Beginning at a time unknown, but continuing until on or about June 11, 2021,

Defendants W.C. EASTERLING,BRENT EASTERLING,and their co-conspirators, known and

unknown to the Grand Jury, erected and maintained the Easterling Family Pit, outfitting the

arena with stadium seating for approximately 150 people and several rings to host cockfights.

       47.    Beginning at a time unknown, but continuing until on or about June 11, 2021,

Defendants BRENT EASTERLING and KASSI EASTERLING,and their co-conspirators,

known and unknown to the Grand Jury, provided food and shelter for the breeding operation and

hired employees to assist with feeding and maintaining the birds at the L&L GAMEFARM.

       48.    Beginning at a time unknown, but continuing until on or about June 11, 2021,

Defendants TYLER EASTERLING,BILLY EASTERLING,and their co-conspirators, known

and unknown to the Grand Jury, provided food and shelter for the breeding operation and hired

employees to assist with feeding and maintaining the birds at SWIFT CREEK GAMEFARM.

       49.    Beginning at a time unknown, but continuing until on or about June 11, 2021,

Defendants BRENT EASTERLING,KASSI EASTERLING,and their co-conspirators, known

and unknown to the Grand Jury, ran the L&L GAMEFARM fighting-bird breeding operation by

deciding which birds to breed together and which birds to cull for not showing promising



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fighting traits; by selling and shipping fighting birds from their breeding operation to others; and

by promoting the fighting abilities of birds they bred.

       50.     Beginning at a time unknown, but continuing until on or about June 11, 2021,

Defendants TYLER EASTERLING,BILLY EASTERLING, and their co-conspirators, known

and unknown to the Grand Jury, ran the SWIFT CREEK GAMEFARM fighting-bird breeding

operation by deciding which birds to breed together and which birds to cull for not showing

promising fighting traits; by selling and shipping fighting birds from their breeding operation to

others; and by promoting the fighting abilities of birds they bred.

       51.     On May 4,2018, TYLER EASTERLING posted the following statement on his

Facebook page:

               To Swift Creek Followers: There has been some talk on social
               media about Other Farms having the same Fowl as Swift Creek! I
               assure you this is incorrect! These Fowl have been carefully
               selected over many years. Our Fowl speak for themselves! Ask
               anyone WHO CLAIMS to have the same Fowl, to PRODUCE
               THE DOCUMENTED FIGHT RECORDS that SWIFT CREEK
               HAS!!! Go ahead I'll wait!! This is not a post to brag, this post is
               to help people know the facts about where they get their chickens!
               Swift Creek Fowl is only sold by Billy, Bobby, or Tyler
               Easterling!! Thank you very much for being followers of Swift
               Creek!!!!

       52.     On February 12, 2019, BRENT EASTERLING and KASSI EASTERLING sold a

stag and a pullet for $1,300 and received payment through PayPal.

       53.     On March 3, 2019, BRENT EASTERLING and KASSI EASTERLING sold a

trio offighting birds that included at least one rooster for $1,000 and received payment through

PayPal.

       54.     On May 26, 2019, BRENT EASTERLING and W.C. EASTERLING sponsored a

rooster in a fight at a cockfighting derby at the Easterling Family Pit.



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       55.     On or about June 14, 2019, TYLER EASTERLING received by U.S. mail a

shipment of 15 cockfighting knives from an unindicted co-conspirator.

       56.     On or about August 3, 2019, BRENT EASTERLING was interviewed by a digital

cockfighting magazine and stated that the "Bruner RH"is the main bloodline that he breeds, and

that "Bruner's [sic] are some ofthe most athletic and accurate fowl that I have ever seen. They

are smarter than the average RH and a deadly cutter."

       57.     On September 1, 2019, BRENT EASTERLING and KASSI EASTERLING sold

a stag and two pullets for $1,650 and received payment through PayPal.

       58.     On September 17, 2019, BRENT EASTERLING sent another Facebook user a

message promoting the 2019-2020 cockfighting schedule at the Easterling Family Pit while

noting that W.C. EASTERLING gets the gate fees at the Easterling Family Pit.

       59.     On September 19, 2019, BRENT EASTERLING and KASSI EASTERLING sold

a stag for $800 and received payment through PayPal.

       60.     On February 26,2020, BRENT EASTERLING used Facebook to promote the

sale of cockfighting knives when he sent a message to another Facebook user asking if he liked

"gutterman knives" while noting that "Kassi just bought some,to put in her store."

       61.     On February 26,2020, BRENT EASTERLING sent that same Facebook user an

audio message via Facebook promoting KASSI EASTERLING's sale of cockfighting

paraphernalia at the Easterling Family Pit. In that audio message, BRENT EASTERLING

praised the large number of people who attended the derbies at the Easterling Family pit, stating

that "it's no secret that Big Jim has the biggest Mexican derby in the f[---]ing country and every

time the doors open, there's 300-320 Mexicans down here' and that KASSI EASTERLING has

"Don Miguel boots,""Bugarin boots,""Zuri knives," and "Gutermann knives" to sell.



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       62.     On or about April 7, 2020, JUNIOR WILLIAMS and TYLER EASTERLING

sparred two roosters with cockfighting knives attached to at least one oftheir legs, while a young

child watched and cheered "go Daddy!" The fight lasted approximately 11 minutes and resulted

in the death of at least one ofthe birds.

       63.     On or about April 7, 2020, TYLER EASTERLING sent a video ofthe sparring

fight conducted earlier that day to an unindicted co-conspirator in another state.

       64.     On or about June 24, 2020, an unindicted co-conspirator in Mexico shipped a total

of 120 cockfighting knives, wrapped in bundles covered by blue protective cloth with the names

"KASSIE EASTERLING" and "BRENT" on some ofthe bundles, via FedEx addressed to

KASSI EASTERLING in Verbena, Alabama. The Fed Ex package was intercepted by U.S.

Customs and Border Protection upon entry from Mexico.

       65.     On July 11, 2020, TYLER EASTERLING sponsored a rooster in a fight at a

cockfighting derby at the Easterling Family Pit.

       66.     On September 2, 2020, BRENT EASTERLING sold a trio offighting birds(a

rooster and two hens)to an undercover agent for $1,500 after sparring the rooster with another

rooster in the undercover agent's presence.

       67.     On September 2, 2020, BRENT EASTERLING and KASSI EASTERLING sold

12 cockfighting knives and a sheath to an undercover agent for $200.

       68.     On September 21, 2020, BRENT EASTERLING and KASSI EASTERLING

received $1,700 in a co-owned bank account, sent via Western Union on September 18, 2020,

from an undercover agent for the purchase and shipment of a trio offighting birds.




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       69.     On or about October 1, 2020, BRENT EASTERLING used the U.S. Postal

Service to ship a trio offighting birds to the undercover agent in South Carolina who had

purchased the birds via a Western Union payment on September 18th.

       70.     December 23,2020 sold a stag and two pullets for $1,900 and received payment

through PayPal.

       71.     On or about January 7, 2021, TYLER EASTERLING and an unindicted co-

conspirator used WhatsApp audio to discuss Tyler's future sale of a dozen "Jhonnys" brand

cockfighting knives for "$180.00 plus shippine to a friend ofthe unindicted co-conspirator.

       72.     On or about January 23, 2021, W.C. EASTERLING hosted a cockfighting derby

at the Easterling Family Pit, which included stadium-style seating for approximately 150 people

facing the central pit area where birds fought. On that day, W.C. Easterling rode around the

Easterling Family Pit area in an off-road vehicle, stopping by the outdoor merchandise shed and

speaking with people attending the derby, including an undercover agent.

       73.     On or about January 23,2021, during the derby, when asked for a copy of the

fight schedule by an undercover agent, AIVIBER EASTERLING directed the agent to speak with

W.C. EASTERLING.

       74.     On or about January 23, 2021, during the derby, when asked for a copy of the

fight schedule, W.C. EASTERLING pulled up an image of a hand-written cockfighting schedule

for the Easterling Family Pit on his mobile telephone, handed his telephone to an undercover

agent, and told the agent to text himselfthe schedule, and instructed the agent not to give the

schedule to everyone he sees. The schedule in the image listed 19 derbies from November of

2020 through August of2021 and identified the January 23, 2021, derby as having an entry fee




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of$500 that cockfighters must pay the Easterings in order to fight five roosters that day, with an

additional $100 betting option.

       75.     On or about January 23, 2021, during the derby, AMBER EASTERLING set out

merchandise for sale at a booth located at the Easterling Family Pit. The items for sale consisted

of cockfighting knives for attaching to fighting birds, and other items used in conjunction with

the knives such as scissors, strips of mole skin (used to wrap around the cock's leg), twine (used

to attach the knife to the cock's spur), and leather boots (used to attach the knife around the

cock's spur). She also set out other items for sale such as facemasks and cups with gamecock

images on them.

       76.     On or about January 23, 2021, during the derby, BILLY EASTERLING was

present at the Easterling Family Pit and he promoted AMBER EASTERLING's sale of

cockfighting knives and face masks, telling an undercover agent standing by AMBER

EASTERLING's merchandise table that her particular brand of cockfighting knives was "what

we use in Mexico and every ff---ling where else."

       77.     On or about January 23, 2021, during the derby, AMBER EASTERLING sold a

set of cockfighting knives for $200.00 and a facemask for $20.00 to an undercover agent.

       78.     On or about January 23,2021, during the derby, AMBER EASTERLING and

T.E. were working in an office inside the Easterling Family Pit where they accepted slips of

paper and money from multiple people attending the derby, helping to collect entry fees from at

least 39 unindicted co-conspirators who paid $500 to enter their roosters to fight in the derby at

the Easterling Family Pit and compete for a chance to win an estimated pot of$22,000 that day.




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        79.    On or about January 23, 2021, during the derby, unindicted co-conspirators

attending the derby solicited and engaged an undercover agent and an undercover source in

betting on the outcome ofindividual cockfights for amounts between $20 and $400.

        80.    On or about January 23,2021, during the derby, JUNIOR WILLIAMS provided

gate security at the entrance from the road to the Easterling Family Pit by controlling who came

in, and collected gate fees in the amount of$30.00 per person coming to the Easterling Family

Pit.

        81.    On or about February 8, 2021, TYLER EASTERLING exchanged several

messages with another Facebook user in an effort to sell him cockfighting knives for $180.

        82.    On or about February 20, 2021, W.C. EASTERLING hosted a cockfighting derby

at the Easterling Family Pit, a facility that held stadium-style seating for approximately 150

people, billed as having an entry fee of$3,000 that cockfighters must pay the Easterlings in order

to fight seven roosters that day, with an additional $300 betting option.

        83.    On or about February 20, 2021, W.C. EASTERLING drove around the Easterling

Family Pit property in an off-road vehicle, pulled up to two undercover agents, questioned who

they were, stated "I'm going to protect what's mine," and demanded to know whether the

undercover agents had any recording devices.

        84.    On or about February 20, 2021, during the derby, JUNIOR WILLIAMS provided

gate security at the entrance from the road to the Easterling Family Pit by controlling who came

in, and collected gate fees in the amount of$30.00 per person coming to the Easterling Family

Pit.




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        85.      On or about the following occasions, each being a separate overt act, BRENT

EASTERLING sent Facebook messages promoting cockfighting derbies at the Easterling Family

Pit:

                 a.     a November 3, 2019, message sharing the "Poor Man's Club" 2019-2020

        season derby schedule of 17 planned cockfighting derbies, including a tribute derby for

        W.C. Easterling, a.k.a. "Big Jim," as well as the date, number of roosters to be fought,

        "weapoe to be used, overall entry fee for fighting birds, and betting options for each

        derby;

                 b.     a January 26, 2020, message providing information about the "Blondie

        Rolland Memoriar derby, including the derby date, the type of cockfighting implement

        to be used in fights at the derby, the fee for entering fighting birds into the derby, and

        cockhouse rental information;

                 c.     a February 23, 2020, message providing information about the "Triple

        Crowe derby, including the derby date, the type of cockfighting implement to be used in

        fights at the derby, the fee for entering fighting birds into the derby, and cockhouse rental

        information; and

                 d.     an April 27, 2020, message providing information about the "Hawaiian"

        derby, including the updated derby dates, the type ofcockfighting implement to be used

        in fights at the derby, the fee for entering fighting birds into the derby, betting options,

        and cockhouse rental information.

        86.      On or about the following occasions, each being a separate overt act, TYLER

EASTERLING sent Facebook messages promoting cockfighting derbies at the Easterling Family

Pit:



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               a.     a January 4,2018, message providing information about the "Ray

       Alexander" tribute derby, including the updated derby date, the types of cockfighting

       implements to be used in fights at the derby, the fee for entering fighting birds into the

       derby, and cockhouse rental information;

               b.     a May 16, 2018, message providing information about the "Powder Puff'

       derby, including the derby date, the type of cockfighting implements to be used in fights

       at the derby, the fee for entering fighting birds into the derby, the gate fee, information

       about a cash prize and a 5-foot pink trophy, and cockhouse rental information;

              c.      a March 10, 2021, message providing information about the "Hawaiian"

       derby, including the derby dates, the fee for entering fighting birds into the derby, the

       type of cockfighting implements to be used in fights at the derby, and betting options; and

              d.      a May 2, 2021, message providing information about the "Ricky Dixon

       Memorial" derby, including the date, the fee for entering fighting birds into the derby,

       betting options, the rules to be used for the fights, and the types of cockfighting

       implements to be used in fights at the derby.

       All in violation of Title 18, United States Code, Section 371.

                                          COUNT 2
(7 U.S.C. § 2156(a)(1) and 18 U.S.C. §§ 49(a) and 2 — Sponsoring or Exhibiting an Animal in an
                                  Animal Fighting Venture)

       87.    The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       88.    On or about May 26,2019, in Chilton County, within the Middle District of

Alabama, and elsewhere, the defendants,

                                    W.C. EASTERLING, and
                                    BRENT EASTERLING,


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did knowingly sponsor and exhibit, and aided and abetted the sponsorship or exhibition of,

roosters in an animal fighting venture in violation of Title 7, United States Code, Section

2156(a)(1), and Title 18, United States Code, Sections 49(a) and 2.

                                          COUNT 3
(7 U.S.C. § 2156(a)(1) and 18 U.S.C. §§ 49(a) and 2 — Sponsoring or Exhibiting an Animal in an
                                  Animal Fighting Venture)

       89.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       90.     On or about January 23, 2021, in Chilton County, within the Middle District of

Alabama, and elsewhere, the defendants,

                                      W.C. EASTERLING,
                                     BILLY EASTERLING,
                                    JUNIOR WILLIAMS,and
                                     AMBER EASTERLING

did knowingly sponsor and exhibit, and aided and abetted the sponsorship or exhibition of,

roosters in an animal fighting venture, in violation of Title 7, United States Code, Section

2156(a)(1), and Title 18, United States Code, Sections 49(a) and 2.

                                          COUNT 4
(7 U.S.C. § 2156(a)(1) and 18 U.S.C. §§ 49(a) and 2 — Sponsoring or Exhibiting an Animal in an
                                  Animal Fighting Venture)

       91.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       92.     On February 20, 2021, in Chilton County, within the Middle District of Alabama,

and elsewhere, the defendants,

                                    W.C. EASTERLING, and
                                     JUNIOR WILLIAMS,




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did knowingly sponsor and exhibit, and aided and abetted the sponsorship or exhibition of,

roosters in an animal fighting venture in violation of Title 7, United States Code, Section

2156(a)(1), and Title 18, United States Code, Sections 49(a) and 2.

                                         COUNT 5
(7 U.S.C. § 2156(b) and 18 U.S.C. §§ 49(a) and 2 — Unlawful Possession of Animals for Animal
                                      Fighting Ventuie)

       93.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       94.     Beginning at a time unknown, but no later than August 3, 2019, and continuing

through on or about June 11, 2021, in Chilton County, within the Middle District of Alabama,

and elsewhere, the defendants,

                                  BRENT EASTERLING, and
                                    KASSI EASTERLING,

did knowingly possess animals, namely roosters and immature male chickens, for the purpose of

having animals participate in an animal fighting venture, and aided and abetted such activities, in

violation of Title 7, United States Code, Section 2156(b), and Title 18, United States Code,

Sections 49(a) and 2.

                                         COUNT 6
(7 U.S.C. § 2156(b) and 18 U.S.C. §§ 49(a) and 2 — Unlawful Possession of Animals for Animal
                                      Fighting Venture)

       95.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       96.     Beginning at a time unknown, but no later than May 4,2018, and continuing

through on or about June 11, 2021,in Chilton County, within the Middle District of Alabama,

and elsewhere,the defendants,

                                     BILLY EASTERLING,


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                                   TYLER EASTERLING, and
                                     JUNIOR WILLIAMS,

did knowingly possess animals, namely roosters and immature male chickens, for the purpose of

having animals participate in an animal fighting venture, and aided and abetted such activities, in

violation of Title 7, United States Code, Section 2156(b), and Title 18, United States Code,

Sections 49(a) and 2.

                                       COUNTS 7 - 12
   (7 U.S.C. § 2156(b) and 18 U.S.C. §§ 49(a) and 2 — Unlawful Sale of Animals for Animal
                                      Fighting Venture)

       97.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       98.     On or about the dates in the table below, in Chilton County, within the Middle

District of Alabama, and elsewhere, the defendants,

                                   BRENT EASTERLING,and
                                     KASSI EASTERLING,

did knowingly sell, possess, and deliver animals, namely roosters, stags, pullets, and hens, for the

purpose of having roosters participate in an animal fighting venture, and aided and abetted such

activities, in violation of Title 7, United States Code, Section 2156(b), and Title 18, United States

Code, Sections 49(a) and 2:

                                                            Buyer's
                 Date of        Sale       Payment                         Transaction ID
      Count                                              Transaction
                  Sale         Amount       Method                            Number
                                                        Notes on Birds
                                                        "Brunner stag/
        7       2/12/2019       $1,300       PayPal                     00B798349B3316227
                                                          grey pullet"
        8       3/03/2019       $1,000       PayPal          "Trio"     9W186837XF3926241
                                                              "trio:
                                                        roundhead stag/
        9       9/01/2019       $1,650       PayPal                      2GJ6649LN518441L
                                                          pullet/ grey
                                                             pulleC
        10      9/19/2019        $800        PayPal     "sweater stae 8PD32599ER8553248
        11      9/02/2020       $1,500        Cash             n/a               n/a

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                                            Western
        12      9/18/2020       $1,700                         nla               8660260518
                                             Union

                                        COUNT 13
   (7 U.S.C. § 2156(b)and 18 U.S.C. §§ 49(a) and 2 — Unlawful Sale of Animals for Animal
                                     Fighting Venture)

       99.     The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

        100.   On or about December 23, 2020, in Chilton County, within the I\4iddle District of

Alabama, and elsewhere, the defendant,

                                     TYLER EASTERLING,

did knowingly sell, possess, and deliver an animal, namely a "Brune'stag and two pullets for an

amount of $1,900.00 via PayPal, for the purpose of having the Bruner stag participate in an

animal fighting venture and aided and abetted such activities, in violation of Title 7, United

States Code, Section 2156(b), and Title 18, United States Code, Sections 49(a) and 2.

                                      COUNTS 14 - 17
 (7 U.S.C. § 2156(c) and 18 U.S.C. §§ 49(a) and 2 — Unlawful Use of Interstate Instrumentality
                    for Promoting or Furthering Animal Fighting Venture)

       101.    The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       102.    On or about the dates in the table below, in Chilton County, within the Middle

District of Alabama, and elsewhere, the defendant,

                                     BRENT EASTERLING,

did knowingly use, and aided and abetted the use of, an instrumentality of interstate commerce,

namely Facebook, for commercial speech for purposes ofpromoting and in any other manner

furthering an animal fighting venture inside the limits ofthe United States, in violation of Title 7,

United States Code, Section 2156(c), and Title 18, United States Code, Sections 49(a) and 2:

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                                Method of
     Count        Date                                         Event Being Promoted
                                Promotion
                          Facebook message             17- derby "Poor Man's Club 2019/2020
       14      11/03/2019 sent to other                schedule" for the 2020 Cockfighting
                          Facebook users               Season at the Easterling Family Pit
                          Facebook message             "Blondie Rolland Memorial"
       15      1/26/2020 sent to other                 cockfighting derby at the Easterling
                          Facebook users               Family Pit
                          Facebook message
                                                       „Triple Crowe cockfighting derby at
       16      2/23/2020 sent to other
                                                       the Easterling Family Pit
                          Facebook users
                          Facebook message                    ..
                                                       „Hawaiian Derby" cockfighting derby at
       17      4/27/2020 sent to other
                                                       the Easterling Family Pit
                          Facebook users

                                      COUNTS 18 - 21
 (7 U.S.C. § 2156(c) and 18 U.S.C. §§ 49(a) and 2 — Unlawful Use ofInterstate Instrumentality
                    for Promoting or Furthering Animal Fighting Venture)

        103.   The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       104.    On or about the dates in the table below, in Chilton County, within the Middle

District of Alabama, and elsewhere, the defendant,

                                     TYLER EASTERLING,

did knowingly use, and aided and abetted the use of, an instrumentality of interstate commerce,

namely Facebook,for commercial speech for purposes of promoting or in any other manner

furthering an animal fighting venture inside the limits ofthe United States, in violation of Title 7,

United States Code, Section 2156(c), and Title 18, United States Code, Sections 49(a) and 2:

                               Method of
      Count        Date                                      Event Being Promoted
                               Promotion
                          Facebook message            „
                                                       Ray Alexander" cockfighting derby at
        18      1/04/2018 sent to other
                                                      the Easterling Family Pit
                          Facebook users




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                          Facebook message            „
                                                       Powder Puff Derby" cockfighting
         19     5/16/2018 sent to other
                                                      derby at the Easterling Family Pit
                          Facebook users
                          Facebook message            „
                                                       Hawaiian Derby" cockfighting derby
        20      3/10/2021 sent to other
                                                      at the Easterling Family Pit
                          Facebook users
                          Facebook message              .
                                                      „Ricky Dixon MemoriaP cockfighting
        21      5/02/2021 sent to other
                                                      derby at the Easterling Family Pit
                          Facebook users

                                         COUNT 22
(18 U.S.C. § 1955(a) and 18 U.S.C. § 2 — Unlawful Operation of an Illegal Gambling Business)

       105.    The factual allegations contained in paragraphs 1 through 31 are hereby realleged

and incorporated herein as if copied verbatim.

       106.    Beginning at a time unknown, but no later than January 23, 2021, and continuing

through on or about June 11, 2021, in Chilton County, within the Middle District of Alabama,

and elsewhere, the defendants,

                                     W.C. EASTERLING,
                                    BRENT EASTERLING,
                                    KASSI EASTERLING,
                                    TYLER EASTERLING,
                                    BILLY EASTERLING,
                                   JUNIOR WILLIAMS, and
                                   AMBER EASTERLING,

did knowingly conduct, finance, manage, supervise, direct, or own all or part of an illegal

gambling business, and aided and abetted such activities, in violation of Title 18, United States

Code, Section 1955(a), and Title 18, United States Code, Section 2.

                                        COUNT 23
   (16 U.S.C. §§ 703 and 707 and 18 U.S.C. § 2 - Unlawfiil Taking, Killing, or Possessing of
                                      Migratory Birds)

       107.    The factual allegations contained in paragraphs 1 through 31 indictment are

hereby realleged and incorporated herein as if copied verbatim.




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        108.    On or about April 9, 2020, in Chilton County, within the Middle District of

Alabama, and elsewhere, the defendants,

                                      TYLER EASTERLING,

did knowingly pursue, hunt, take, capture, kill, attempt to take, capture, or kill, possess a

migratory bird, namely a Great Horned Owl, protected under the Migratory Bird Treaty Act, and

aided and abetted such activities, in violation of Title 16, United States Code, Sections 703 and

707, and Title 18, United States Code, Section 2.

                                  FORFEITURE ALLEGATION

        A.     Upon conviction ofthe offenses alleged in Counts One, Two,Three, Four, Five,

Six, Seven, Eight, Nine, Ten, Eleven, Twelve, Thirteen, Fourteen, Fifteen, Sixteen, Seventeen,

Eighteen, Nineteen, Twenty, and/or Twenty-One ofthis Indictment, the defendant(s) shall forfeit

to the United States of America, pursuant to Title 7, United States Code, Section 2156(e)

(codified as 7 U.S.C. § 2156(f) prior to December 20,2019) and Title 28, United States Code,

Section 2461(c), any animal involved in any violation ofthe offenses alleged in this Indictment,

including but not limited to all roosters, hens, and pullets.

       B.      Upon conviction ofthe offenses alleged in Counts One and Twenty-Two ofthis

Indictment, the defendant(s) shall forfeit the following property to the United States of America:

                1.      any property, real or personal, which constitutes or is derived from

                        proceeds traceable to the commission of said offenses, pursuant to Title

                        18, United States Code, Section 981(a)(1)(C) and Title 28, United States

                        Code, Section 2461(c); and




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               2.         any property, including money, used in violation of Title 18, United

                          States Code, Section 1955, pursuant to Title 18, United States Code,

                          Section 1955(d)including, but not limited to,

                      i. real property;

                     ii. tangible property; and

                     iii. United States currency and all interest and proceeds traceable thereto, in

                         that such sum in aggregate was obtained directly or indirectly as a result

                         of said offenses or is traceable to such property.

       C.      Upon conviction ofthe offenses alleged in Count Twenty-Three ofthis

Indictment, the defendant, TYLER EASTERLING,shall forfeit the following property to the

United States of America:

               1. All birds, or parts, nests, or eggs thereof, captured, killed, taken, sold or

                    offered for sale, bartered or offered for barter, purchased, shipped,

                    transported, carried, imported, exported, or possessed contrary to the

                    provisions of Title 16, United States Code, Sections 703 and 707, pursuant to

                    Title 16, United States Code, Section 706; and

               2. All guns, traps, nets and other equipment, vessels, vehicles, and other means

                    oftransportation used by any person when engaged in pursuing, hunting,

                    taking,trapping, ensnaring, capturing, killing, or attempting to take, capture,

                    or kill any migratory bird in violation of Title 16, United States Code,

                    Sections 703 and 707, pursuant to Title 16, United States Code, Section 707.

       D.      If any ofthe above-described property, as a result of any act or omission ofthe

defendants —



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                    1. cannot be located upon the exercise of due diligence;

                    2. has been transferred or sold to, or deposited with, a third party;

                    3. has been placed beyond the jurisdiction ofthe court;

                    4. has been substantially diminished in value; or

                    5. has been commingled with other property which cannot be divided without

                        difficulty,

     the United States will seek forfeiture of substitute property pursuant to Title 21, United States

     Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

                                                           A TRUE BILL:
                                                                                       ,




     SANDRA J. STEWART
     ACTING UNITED STATES ATTORNEY

     Jonathan S. Ross
     Assistant United States Attorney


(Leig . Rende
 Tri Attorney
 En ironment and Natural Resources Division




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